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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    )       CRIMINAL NO. 4:23-CR-00162
                                            )
                                            )       (BRANN, C.J.)
       v.                                   )
                                            )       (ARBUCKLE, M.J.)
MATHEW LAMPI,                               )
            Defendant                       )
                                   RULE 5 ORDER

      The United States is obligated, pursuant to Brady v. Maryland, 373 U.S. 83

(1963), Giglio v. United States, 405 U.S. 150 (1972), and subsequent cases, to timely

disclose information favorable to the defense as to criminal liability on the charged

offense(s) or mitigation of any punishment that may be imposed. Such favorable

information includes information that may cast doubt on the credibility of

government witnesses. Possible consequences for violating this order include

exclusion of evidence, dismissal of charges, contempt proceedings, disciplinary

referral, and any other relief authorized by law.


Date: June 27, 2023                                 BY THE COURT

                                                    s/William I. Arbuckle
                                                    William I. Arbuckle
                                                    U.S. Magistrate Judge




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